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                                        Exhibit A

                        Setlement Agreement and General Release
                         Note: Benlida version has execu�on page.
              Redacted per Judge Goodman’s January 18, 2023 Paperless Order.
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  suits, rights, demands, costs, losses, debts, penalties, fees, wages, expenses (including attorneys’
  fees and costs), and punitive damages, of any nature whatsoever, known or unknown, which they
  have, or may have had, against one another, whether or not apparent or yet to be discovered, or
  which may hereafter develop, for any acts or omissions related to or arising from any event
  preceding the Effective Date of this Agreement, including but not limited to, any claims that have
  been or could have been raised under federal, state or local law in the Litigation, or any facts
  underlying or associated with the Litigation. This release is intended by the Parties to be a general
  release with the broadest possible application and scope available under the law, subject only to the
  Parties’ continued business relationship pursuant to the terms of the Revised Manufacturing
  Agreement.

          5.       Dismissal of Litigation. The Parties and their counsel shall take whatever actions
  are necessary to ensure that the Litigation is dismissed in its entirety, with prejudice and without
  costs or fees, within 10 business days of the Effective Date of this Agreement. The Parties and their
  counsel will cooperate in securing the dismissal of the Litigation as appropriate.

           6.       No Admission of Liability. The Parties acknowledge that this Agreement is a
  compromise and final settlement of disputed claims and that it may not be construed as an admission
  of liability by any of the Parties. Further, the Parties specifically disclaim and deny any liability.

           7.      Material Breach / Settlement Payments. The Parties acknowledge that any
  material breach of this Agreement or the Revised Manufacturing Agreement by BLD/ROK, or any
  termination of the Revised Manufacturing Agreement by BLD/ROK prior to the expiration of the
  first renewable term, would result in irreparable harm to CTX/CTX-HK and shall entitle CTX to stop
  any remaining Settlement Payments and recover any Settlement Payment amounts paid up to that
  point, in addition to any and all other forms of relief available under the law. In the event of a
  material breach by BLD, BLD agrees to give CTX first priority among its creditors for repayment
  of any Settlement Payment CTX has made.

          8.       Confidentiality of Agreement. The Parties expressly understand and agree that
  this Agreement and any financial records provided in accordance with paragraphs 3.a. and b. above
  shall remain CONFIDENTIAL and shall not be disclosed to any third party whatsoever, except to
  the Parties’ counsel, accountants, insurers, financial advisors, tax professionals retained by them,
  any federal, state, or local governmental taxing or regulatory authority, the Parties’ management,
  officers, directors or members, or as required by law or order of court. Nothing contained in this
  paragraph shall prevent any Party from stating that the Parties have resolved the Litigation (without
  otherwise disclosing the specific terms of this Agreement), or taking reasonable steps to enforce this
  Agreement. Further, the Parties recognize and agree that CTX/CTX-HK shall, in their sole
  discretion, have the exclusive right to communicate to customers on the Exclusive Customer List that
  the Parties have settled the Litigation, including but not limited to in the form of the letter attached
  hereto as Exhibit 2.

         9.       Agreement is Legally Binding. The Parties intend this Agreement to be legally
  binding upon, and shall inure to the benefit of, each of them and their respective successors, assigns,
  executors, administrators, heirs and estates.

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         10.       Entire Agreement. The recitals set forth at the beginning of this Agreement are
  incorporated by reference and made a part of this Agreement. This Agreement constitutes the entire
  agreement and understanding of the Parties and supersedes all prior negotiations and/or agreements,
  proposed or otherwise, written or oral, concerning the subject matter hereof, including but not limited
  to the Manufacturing Agreement of March 1, 2012 and the Letter Agreement of July 21, 2016.
  Furthermore, no modification of this Agreement shall be binding unless in writing and signed by
  each of the parties hereto.

          11.      New or Different Facts: No Effect. Except as provided herein, this Agreement
  shall be, and remain, in effect despite the discovery or existence of any new or additional fact, or
  any fact different from that which either Party now knows or believes to be true. Notwithstanding
  the foregoing, nothing in this Agreement shall be construed as, or constitute, a release of any Party’s
  rights to enforce the terms of this Agreement.

         12.       Interpretation. Should any provision of this Agreement be declared or be
  determined by any court to be illegal or invalid, the validity of the remaining parts, terms or
  provisions shall not be affected thereby and said illegal or invalid part, term or provision shall be
  deemed not to be a part of this Agreement. The headings within this Agreement are purely for
  convenience and are not to be used as an aid in interpretation. Moreover, this Agreement shall not
  be construed against either Party as the author or drafter of the Agreement.

          13.       Governing Law, Choice of Forum, Service of Process. This Agreement is made
  and entered into within and shall be governed by, construed, interpreted and enforced in accordance
  with the laws of the state of Florida, without regard to the principles of conflicts of laws. Any action
  to enforce this Agreement shall be brought only in a court of competent jurisdiction located in
  Broward or Miami-Dade County, Florida, and the Parties hereby irrevocably agree to submit to such
  jurisdiction and waive any objections to jurisdiction or the laying of venue in such courts. The Parties
  further expressly agree that service of process in any action to enforce this Agreement may be
  completed by emailing the summons and complaint to counsel for the Parties at:

               a. jeanclaude@mazzolalindstrom.com and richard@mazzolalindstrom.com (for
                  BLD/ROK)

               b. chauncey.cole@coletrial.com and srosenthal@podhurst.com (for CTX/CTX-HK).

         14.      Reliance on Own Counsel. In entering into this Agreement, the Parties
  acknowledge that they have relied upon the legal advice of their respective attorneys, who are the
  attorneys of their own choosing, that such terms are fully understood and voluntarily accepted by
  them, and that, other than the consideration set forth herein, no promises or representations of any
  kind have been made to them by the other Party. The Parties represent and acknowledge that in
  executing this Agreement they did not rely, and have not relied, upon any representation or
  statement, whether oral or written, made by the other Party or by that other Party’s agents,
  representatives or attorneys with regard to the subject matter, basis or effect of this Agreement or
  otherwise.

         15.      Counterparts. This Agreement may be executed by the Parties in counterparts,
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